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            AMENDED AND RESTATED SHARED SERVICES AGREEMENT

        This Amended and Restated Shared Services Agteement (as amended, modified, waived,
su:pplemei1ted or restated from time to tiine in accordance wlth the tetms hereof, this
'·Agreement"), dated effective as of January 1, 2018, is entered into by and between NexPoint
Advisors; LP ., a Delaware Hniited partnership, as. the management company· hereunder (in such
capacity, the ''Management Company''); and Highland Capital Managemertt1 L.P., a Delaware
limited partnership ("Highland"), ~s the staff mid .services provider hereunder (in such capacity,
the "Staffand Services Provider" and together With.the Management Company,the "Parties"). ·



       WHEREAS, tl1e Staff anci Servic.es Provider is a registered investment adviser under the
Tnvestnient Advisers Act of 1940, as atnended (the "Advisers Act");

        WHEREAS,the :S taffandServices Provider and the Management Company are engaged
in the business of providing investment management services;          ·            ·

        WHEREAS, the Parties e11tered into that certain Shared Services Agreement, dated
effective as of Januaty l, 2013 (the "Original Agreem:ent");

        WHEREAS, the Parties desire to amend and restated the Original Agreement and the Staff
andServices Provider is hereby being reta~nedto provide certain back., and middle-office services
and ad1nirtistrative, infrastructure and other Services to assist the Management Comparty in
conducting its business, and the Staff and Services Provider is willing to make such ~ervices
available to the Management Company, in each case, on the te1ms and conditions hereof;

        WHEREAS, the Management Company may employ certain individuals to perform
portfolio selection and asset rnariagement functions for the Management Company, and certam     of
these individuals may also be employed simultaneously by the Staff a:nd Services Provider <luting
their employment with the Management Company; and

         WHEREAS, each Person employed by both the Management Company and the Staff and
Services Provider as described above (each, a"Shared Employee';). ifany; is and shall be identified
on. the books and reQords gf each c,f the Management Company and the 'Staff and Services Provider
(as amended, modified, supplemented or restated from time to time).

       NOW, THEREFORE, for good and valua:b1e consideration, the receipt and sufficiency of
which is hereby acknowledged, the Parties hereby agree, and the Original Agreement is hei·eby
amended" restated and replaced in its entfrety as follows.

                                          ARTICLE I

                                         DEFINITIONS

        Sectlonl.01 Certain Defined Terms; As 11sed in this Agreement, the following tenns
shall have the following meanings:




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        "Affiliate" shall mean with respect to a Person, any other Person that directly, ot indirectly
through one or more intermediaries, controls, is controlled by, or is. under common control with
the first Person. The t9nu "control" means (i) the legal or beneficial owi1ership of securities
representing a majority of the voting power of any person or (ii) the possession, directly or
indirectly, ofthe power to direct or cause the direction of the management and policies of a person,
whether by contract or othetwise.

        "Applicable Asset .Criteria and Concentrations;' means any applicable eligibility criteria;
portfolio concentration limits and other similar ctiteria ol' lim:its which tbe Management Company
instructs in writing to the Staff and Setvices Provider in respect ofthe Portfolio or one or more
Accounts, ~s such criteria or limits may be n1odified, amended or supplemented fro111 time to time
in writing by the Management Company;

          ''Applicable Law" shall mean, withrespectto any Person or property of such Person, any
action, code, consent decree, constitution, decree, directive, enactment, finding, guideline, law,
injurictio11, ii1terpretation, judgment, order, ordinai1ce, policy .statement~ proclani.ation, fotrnaJ
guidance, promulgation; regul~tion, requirement, rule, rule oflaw, rule of public policy, settlement
agreement statute, Writ, oi• any particulat section, part .ot :provision thereof of any Governmental
Authority to which tl1.e Person in question is subject or by which itor any of its property is bound.

        ''Client or Account" shall mean any fund, client or accoµnt advised by the Management
Company, as applicable.      ·

       "Covered Person" shall mean the Staffand Services Provider, any of its Affiliates, and any
of their respective managers, members, principals, partners, directors, officers, .shareholders,
employees and agents (but shall not include the Management Company, its subsidiaries or
member(s) and any managers, members, ptincipals, ,partners, directors; offiqers, shareholders,
employees and agents of the Managemei1t Company or its subsidiaries 01' membet(s) (in their
capacity as such)).

        "Governmental Authority" shall mean (i) any government or quasi,.governm~ntal authority
or political subdivision thereof, whether natiomil, state, comity, municipal or regional, whether
U.S. or non~U.S.; (ii) any agency, regulator, arbitrator, board, body, branch, bureau, commission,
corporation, department, maste~; mediator, pm1el, referee; system or instrumentality of any such
government, political subdivisi01i or other government or quasi-:government entity, whether non-
U.S. or U.S.; and (iii) any cotirt, whether U.S. or non-U.S.

         "Indebtedness" shall mean: (a) alI indebtedness for borrowed money mid all other
obligations, contingentm otherwise, with respect to suretybonds1 guarantees ofbotrowed money,
letters of credit and bankers' acceptances whether or not matt,rred, and hedges and other .detivative
contracts and :financial instnunents; (b) all obligations evidenced by notes, bonds, debenturesi ot
similar instruments, or incurred ·under bank guaranty or letter of credit faqilities or credit
agreements; (c) all iitdebted.ness cteated or a:risingun'der any conditional sale or other title retention
agreement with respect to any propetty of the Management Company or any subsidiary; (d)all
capital kase obligatio1is; (e) all indebtedness guaranteed by such Person or any of its subsidial'ies;
and (f) all indebtedness guaranteed by such Person oi• any of its subsidiaries.



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      ''Operating Guidelines" meai1s any operating guidelines attached to a11Y portfolio
management agrech1ent, investment management agreement or .similar agreement entered into.
between the Management Contpany and a Client bl' Account.

        . "Portfolio'; means the portfolio of.securities and other assets, including without limitation,
financial instruments, equity investii1ents, collateral loan obligations, debt securities, prefetrc:d
return notes .and other similar obligations held directly or indirectly by, or on behalf of, Clients
a1:id Ac.counts frqm time to time;                                            ·
        "Securities Act'' shall mean the Securities Act of 1933, asmnerided.

         Section 1.02 Interpretation. The following rules apply to the .use of defined terms and.
the interpretation of this Agreement: (i) the singular includes the phiral and the plural incl\tdes the
singular; (ii) "or'' is not exclusive (unless preceded by "either"} arid ''inchide" and "including" are
not limiting; (iii) unless the context otherwise requires, reforencesto agreements shall be deemed
tC) mean and include such agreements as the same may be <'lmend¢d, supplemented, waive<,t and
otherwise modified from time to time; (iv) a ·reference to a law includes any amendment or
modification to such law and any rules or regulations issued thereunder or any law enacted in
substitutio1ior replacement therefor; (v) ateferehce to aPetson includes its sticcessors and assigns;
(vi) a reference to a Section without further reference is to the relevant Section ofthis Agreement;
(vii) the headings of the Sections and subsections are for co~1venience and shall riot affect the
mea.1iirig of this Agreement; {viii) "writing\ "writtei1" and comparable terms i'efot to printing,
typing, lithography and other shall mean of reproducing words in a visible form (including
 telefacsimile and electronic ni:ail); (i}<.} "hereof', "heteii1", "!1.ereundet" arid cmnparable terms refet
 to the entire instrument in which such terms are used and nof to any particillar article, section o:r
other subdivision thereof ot ~ttachment thereto; l:lnd (x)references to any gender include any other
gender, masculine; feminine or neuter, as the context requires.

                                              ARTICLEU

                                              SERVICES

     . Section2.0J General Atithoritv. Hig}Jland is lwreby appointed as Staff <'lnd Services
Providet for 1he purpose of providing such services and assistance a's the Management Company
may request from time to time to, and ifapplicable, to make available the Shared Employees to,
the Managen1ent Company in accord~nce With and subjectto the provisions ofthis Agreement and
the Staff and Services Providet hereby accepts such appointment. The Staffand Services Provider
hereby agrees to such engagement during the term hereof and to render the services described
herein for the compensation provided herein, subject to the limitations contained herein.

        Section2.02 Provision of Services. Without limiting the generality of Section 2:01 and
subject to Se~tion 2.Q4 (Applicable Asset Criteria ancl Concentrations) below, the Staff and
Sel'vices Provider hereby agrees, from the date hereof, to provide the followinghack- and middle-
officeservices and.a,ciministrative, infrastructure a.nd otht;r services to the Management Company.

               (a)    Back- and Midd/e.,,O,fjice: Assistance and advice with respect to back- and,
middle-office functions including, but not limited to, investment research, trade desk services,
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including trade execution and settlement, finance and accolll1ting, payments; operations_; hook
keeping, cash management, cash forecasting, accounts payable, accounts receivable, expense
reimbt1rsement, vendor inanagement, and information technology (including, withoi1t limitation,
general suppott and maintenance (OMS, development, support), telecoirt (cellphones, telephones ·
and broadband) and WSO);                                                .

               (b)     Legal/Compliance/Risk Analysis; Assista.1i.ce and advice with respect to
legal issues, litigation support, management of outside counsel, compliance support and
implenientaticm and general .risk analysis;

                 (t)    Tax. Assistance artd advice with respect to tax audit suppo1t, tax planning
aJJ.d tax preparation and filing.

                (d)    Management of Clients widAccounts: Assistance .a nd advice with respect
to (i) the adhetence to Operating Guidelines by·the Managemei1f Cornpm1y, and (ii)·perfotn1i1ig
any obligations of the Management Company under or in connection with any back~ and middle-
office function set forth in any poxtfolio managel'nent agreeinent, investment ma11agement
agreement or similar agreement in effect between the Management Company and any Client or
Account from time to time.

               (e)       Valuation, Advice relating to the appointrnent of suitable third parties to
provide valuations oi1 assets comprising the Portfolio and i11duding; but not limited to, such
valuations required to facilitate the preparation of finap.cial statements by the Management
Company or the provision of valuations in connection with, or prepatation of reports otherwise
relating to, a Client or Account for which the Management Company serves as portfolio manager
or investment managerC,n· in a similar capacity;

               (f)    Execution andl)ocumentation. Assistancerelatingto the negotiation of the
terms of, and the execution and delivery by the Management Company of, any and all clocuments
which the Management Company considers to be necessary in connection with the acquisition and
disposition of an asset in the Portfolio by the Management Company or a. Client or Account
managed by the Management Company, ttansactiohs involving the Managerhehf Company or a
Client or Account managed by the Management Company, and any other rights and obligations of
the Management Company or a Client or Account managed by the Managemi;:nt Company;

               (g)    Marketing. Provide access to tnarketing team representatives to assist with
the marketing ofthe Management Company and any specified Clients or Accounts managed by
the Management Company conditional          on
                                             the Management Company's agreement that any
incerttive compensation related to such marketing shall be borne by the Management Company;

                 (b}     Reporting. Assistance relating to any reporting the Management Company
is required to inake _in relation to the Pottfolio or any Client or Account, including reports relating
to (i) credit facility n;porting and purchases, sales, liquidations, acqµisitions, disposals,
sub-stit11tions and excha11ges of assets in the Portfolio, (ii) the requirements of an applicable
regulator, or (iii) other type ofreporting which the Management Company and Staff and Services
Provider may agrqc from time to time;                         ··          ·




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  .            (i)    Administrative Services. The provision of office space; information
technology services and equiptilent, infrastructure; rent arid parking, and othei: related services
reque~ted or utilizedbythe Management Compaµyfrom time to time;

              G)    Shared Employees. To the extent applicable, the provision of Shared
Employees and such additional human capital as may be mutually agreed by the Management
Company arid the Staff and Services Provider in accordance with the provisions of Section 2;03
hereof;

               (k)     Anci/lc,ry Services.   Assist.ance and advice on all things ancillary or
incidental to the foregoing; and

               (1)   Other: Assistance and advice relatii1g to such other back- a:nd rhiddle~office
services in connection with the day-to-day business of the Management Company as the
Management Company and the Staff and Services Provider may from time to tin1e agree.

For the avoidance of doubt, none of the services contemplated hereunder shall constitute·
investment advisory services, and the Staff & Services Provider shall not provide any advice to
the Mmmgemei1t Company or perform any duties on bchalfof the Mm1agemetit Company, other
than the back- and middle~office services contemplated herein, with respect to (a) the general
management .of the Management Company, its bus_iness or activities, (b) the initiation or
structuring of any Client or Account or similar securitization, (c) the substantive investment
management decisions with respect to any Client or Account or any related collateral obligations
                                         of
or securitization, (d) the acttml sdectio11 an:y collateral obligation or assets by the Management
Company, (e) binding recommendations as to any disposal of or .amendinentto any Collateral
Obligation.or (f} any similar.fi.mctions.                                                ·

       Sectiorl 2.03   Shafr:d Employees.

                (a)    'the Staff and Services Provider hereby agrees and consents that each
SharedEmployee, ifany, shall.be employed by the Management Company, and the Management
Company hereby agrees .an:d consents that each Shared Employee shall he employed by the Staff
and Services Provider; Except as may otherwise separately be agreed in writing between the
applicable Shared Employee and the ManagGment Coinpany and/or the Staff mid Services
Provider, in each of their discretio11, each Shared Employee is an at-V1-·ili employee and rto
guarnnteed e111ployment or pther employmentarrangerne11t is agreed or implied by this Agreen1ent
with respect to arty Shared Employee, and for avoidance of doubt this Agreement.shall not amend,
limit, constrain or modify in any way the employment an-a11gements as between any Shared
Employee and the Staff and Services Provider or as between any Shared Employee arid the
Management Company, it being understood thatthe Management Company may enter into a short-
form employment agreement with ariy Shared Employee meniorializing such Shared Employee's
status as an eniployee of the Management Company. To the extent applicable, the Staff and
Services Provider shall ensure that the Management Con'l.pany has ~lifficient access fo the Shared
Employees so that the Shal'ed Employees spend adequate time to provide the services required.
hereunder. The Staffijnd Services Provider may als.o employ the services of persons other than
the- Specified Persons as it deems fit in its sole discretion




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                (b)    Notwithstanding that the Shared Employees, if any, shall be employed by
both the Staff and Services Ptovider and the Managerilent Company, the Parties acknowledge and
agree that any and all salary and bepefits of each Shared Employee shall be paid e:icclusively by
the Staff and Services Provider and shall not be paid or borne by the Management Company and
no additional amounts in cc_>nnecti on 1herewith shall be d uc ·from the Management Company to the
Staff and .Services Provider.

               (c)     To the extent that a Shared Employee participates in the rendering. of
services to the Management Company's clients, the Shared Erriployee. shall be subject to the
oversight and .control of the Management Company and such services shall be. provided by the
Shared. Employee exclµsively in his or her capacity as a "s\1pervised person;' of, or "person
associated with", the Management Company (as such terms are defined in Sections 202(a)(25) and
202(a)(17),rcspectively, ofthe Advisers Act),

               (d)     Each Party may continue to oversee,. supervise and manage the services of
each Shared Employee in oi·der to(l) erisure conipliance with the Party's compliance policies and
procedures, (2) ensure compliance with .regulations .applicable to the Party and (J) protect the
inforests ofthe Party and its cliel)ts; provided that Staff and Services..Provider shall (A) cooperate
with the Management Conipany;s supervisory efforts and (B) make periodic reports. to the
Management Company regarding the adherenc.e of Shared Employees to Applicable Law,
including but not limited to the 1940 Act, the Advisers. Act arid the United States Commodity
Exchange Act ofl 936~ as amended, in performing the services hereunder. .                .

               (e)     Where a Shared Employee provides .· services hereunder through both
Parties, the Patties shall cooperate to ensure that all such services are performed consistently with
Applicable Law and relevant compliance controls and procedures designed .to prevent, among
other things, breaches .in infonnation security or the communication of confidential, proprietary or
:material non-publicinformation.                            ·

             . (t)      The Staffand Services Provider shall ensure that eachShared Employee has
any registrations, q1ialifications and/at licenses necessary to provide the services hereunder.

               (g)     The Parties will cooperate to ensure that information about the Shared
Employees is adequately and appropriately disclosed to cJients, investors (and potential investors),
iiwestinent banks operating as initial purchaser or placement agent with respect to any CHei1t or
Account, and regtl!ators, as applicable; To facilitate such disclosure, the Staff and Servic;es
Provider agrees to provide, or cause to be provided, to the Management Comparty suchirt:fortriatiqn
as is deemed by the Management Comparty to be necessary or appropriate with respect to the Staff
and Services Provider and the Shareq Employees (including, but not limited to, biographical
information about·each Shared Employee).

               (h)    The Parties shall cooperate to ensure that, when so required, each has
adopted a Code of Ethicstneeting the requireti1ents ofthe Advisers Act{"Code ofEthics") that is
consistent with applicable law and which is substantially similar t o the other Pa:rty's Code _of
Ethic.s.




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               (i)    The Staff and Services Provider shall make reasonably available for use by
the Management Cornpany, including through Shared Employees providing services pursuant to
this Agreement, any relevant intellectt1al prope:1ty and systei:hs necessary for the provision of the
services hereunder.

               G)      The Staff and Services Provider shall requirethat each Shared Employee:

                      (i)     certify that he br she is subject to, .a nd has been pi'ovided with, a
       copy ofeach Partis Code of.Ethics and will make such reports, and seek prior clearan.ce
       for such actions and activities1 as may be reqt1ired under the Codes bf Ethics;

                       (ii)   be. subject to the supervision and oversight of each Party's officers
       and directors, including without limitation its Chief Compliance Officer ("CCO;'), which
       CCO may be the same Person, with respe.ct to the services provided to that Party or its
       clients;

                     {iii) provide services hereunder and take actions hereunder only as
       approved by the Management Company;

                       (iv)   ptovide any information requested by a Patty, as necessary to
       coITiply with applicable disclosure or regulatory obligations;

                       (v)    to the extent authorized to tran~act on behalf of the 1vlanage1n~nt
       Company or a Client or Account/take reasonable steps to ensure thatari.y such trai1saction
       is consistent with any policies and procedures that may be esti,1.bHshed by the Parties and
       all Applicable Asset Criteria and Concentrations; and ·

                       (vi)   act, at all times, in.a manner consistent with the.fiduciary duties and
       standard ofcare owed by the Management C91npany to its me111.bers and direct. or indirect.
       investoi"s or to a Clieht or Account as well as clients of Staff mid Setvices Providet by
       seeking to ensure that, among other things, information about any investment advisory or
       ti'adirig activity applicable to a pa1ticular client orgtoup nf clients is not used to benefitthe
       Shared Employee, any Pmty or any other cHent or group of clients in contravention of such
       fiduciary duties or standard of care.

                (k)     Unless specifically authorized to do so, or appointed as a:n officer ot
al.lthorized person of the Management Company with such authority, .no Shared Empioyee may
contract on behalfor in the name of the Management Company;
                                .             .              . .
                                                                actii1g as principal.
                                                                   .          .   .


       Section 2.04    Applicable Asset Criteria and Concentrations. The Management Company
wiU promptly inform the Staff and Services Provider in writing of any Applicable Asset Criteria
and Concentrations to which it agrees frotn tifoe to time and the Staff and Services Provider shall
take such Applicable Asset Criteria and Concentrations into.account when providing assistance_
and advice in accordance with Section 2.02 abo,;e and any othe1' assistaJ1ce or advice provided in
accordance with this.Agreement.

     Scction2.05 Compliance with Management Company Policies and Procedures. The
Management Company will from time to time provide the Staff and Services Provider and the


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Shared Employees, if any, with any policy and procedure documentation which it establishes
internally and to which it- is bound to adhere. in conducting its business pursuant to regulation,
contract or othen;vise. Subject to ai1y other lirrtitations in this Agreeri1ent, the Staff mid Services
Provider will use reasonable efforts to ensure any services it and the Shared Employees provide
pursuant to this Agreement complies with or takes account of such internal policies and
procedures.

        Section2.06 Authority. The Staffana·servicesProvider's.scope of assistance and advice
hereunder is limited to the services specifically provided for in this Agreement. The ~taff and
Services Provider shall not assume or be deemed to assume any tights or obligations of the
tvianagement Comp1;1ny un_det any Qther docu_ment or agreement to which the Management
Company is a party. Notwithstanding any other express or implied provision to the contrary in
this Agreement, the activities of the Staffand Services Provider pursuant to this Agreement shall
be subject to the overall policies ofthe Management Company, as notified to the Staff and Sei-vices
Provider from time to time. The Staff and Services Provider shall not have any duties or
obligations to the Management Company unless those duties and obligations are specifically
provided for in this Agteement(or in any am:endnient,1nodification or novatimt hereto or hereof
to whichthe Staff and Services Provider is a party).

       Seption 2.07    Third Parties.

               (a)     The Staff and Services Provide1· may eirtploy thii'd parties, including its
affiliates, to render advice, provide assistance and to perform -any of its duties under this
Agreement; provided that notwithstanding the employment of third parties for any su,ch pµrpose,
the Staffand Services Provider shall not be relieved of any of its obligations or liabilities under
this Agreement.

                 (b)      In providing services hereunder1 the Staffand Services Provider may rely
in good faith upon and will incur no liability for relying uponadvice of nationally recognized
counsel. (which may be counsel for the Management Company, a Client or Account or any Affiliate
of the foregoing), accountants or other advisers as the Staff and Services Provider determines, in
its sole discretton, is reasonably appropriattl in connection with the services provided by the Staff
and Services Pi·ovider urider this Agreement.

       Section2.08 Management Compmiy to Cooperate with the- Staff'and Services Provider.
In furtherance, of the Staff and Services Provider'$ obligations under this Agreement the
Management Company shall cooperate with, provide to, and fuUy infonn the Staff and Services
Provider of, any and all documents and information the Staff and Services Provider reasonably
requires to perfonri its obligations u11der this Agrcei11ent

        Section 2. 09 Power ofAttorney. If the Management Company considers it necessary for
the provision by the Staff and ServicesPi'ovider of the l:lSsistance and advic.e underthis Agreement
(after consultation with the Staff and Setvices Provider), it may appoint the Staff and Services
Provider as its true and lawful agent and attorney, with full power and authority in its nan1e to sign,
execute, certify, swear to, acknowledge, deliver, file, receive and i·ecord any and all documents
that the Staff and Services Providerreasonably deems appropriate or necessary in connection with
the execution a1td settlerriertt of acquisitions of assets as directed by the Management Company



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a:nd the Staff and Services Provider~s powers and duties he1·eunder (whkh for the a:voida:nce of
doubt shaU in no w~y involve H1e discretion .:mator authority of the Management Company with
respect to investments). Any such power shall be revocable in the sole discretion of the
Management Company.

                                            ARTICLE III

                              CONSIDERATION AND EXPENSES

        Section 3.01 Consideration. As compensation for its performance of its obligations as
Staff and Services Provider lmder this Agreement, the Staffand Services Provider will be entitled
to receive a flat fee. of $168,000 pet month (the "Sfaff and Setvices Fee"), payable m,ontllly in
advance on the first business day of each month.

        Section 3. 02 Costs arid Expenses, Each party shall bear its. own expenses; provided that
the Management Company shall reimburse the Staff and Services Provi,der for any and all costs
a:nd expenses that 111ay be borne propeilyhy the Manag~ment Company.

         Section 3 .03 Deferral. Notwithstanding anything to the contrary contained herein; if on
any date the Management Company determines that it would nothavesufficient funds available
td it to make a payment of Indebtedness, it shall have the right to defer any a:11 and amounts payable
to the Staff and Services Provider pursuant to this Agreement, including any fees and expenses;
provided that the Mam1gement Conipany shall pi'omptly pay all such amounts on the first date
thereafter that sufficient amounts exist to make payment thereof.

                                            ARTICLE IV

                           REPRESENTATIONS AND COVENANTS

        Section 4.01    Representations; Each of the Parti9s hereto represents and warrants that

               (a)     It has full power and authority to execute and deliver, and to perform its
obligations under, this Agreement;                   ·

                  (b)    this Agreement has been duly authorized, exec;uted and delivered by it and
constitutes .its valid and binding, obligation, enforceable in accordance With its. tel':ms except as the
enforceal;lility hereof may be subject to (i) bankruptcy, insoiv~ncy, reorganization rporatorium,
receivership, conservatorship or other similar laws now or hereafter in effect relating to creditors'
rights and (ii) general principles of equity (regardless of wheiher such enfotcement is considered
ina proceeding, in equity or at law); ·        · ·

                (c)     no consent, approval, authorization or. order of or declaratioi1 or filing with
any Governmental Authority is required for the execution of this Agreement or the performance
byit of its duties beteurtder, except si1ch as have been duly rnade·Or obtain.eel; and

                (d)     neither the execution and delivery ofthis Agreement nor the fulfiliment of
the terms hereof conflicts with or results in a bn::ach or violation Of a:ny of the terms or provisions
of; ot constitutes a default under, (i) its constituting and mgan1zational documents; or (ii) the terms


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of any· niaterial indenture, contract, lease, mortgage, deed of trust, note, agreement or other
evidence of indebtedness or othe.r material agreement, obligation, condition, covenant or
ii1strmnent to which it is ct party 01' by which it is bound.

                                            ARTICLE V

                                            COVENANTS

        Section 5.01   Compliance: Advisory Restrictions,

                (a)    The Staff and Services Provider shall reasonably cooperate with the
Managernent Company       m   connection with the Management Coinpanf s compliance with its
policies and procedures relating to oversightofthe Staffand Services Provider. Specifically, the
Staff and Services Provider agrees tha,t it will provide the. Management Company withreasprtable.
access to irtform:ation telatihg to the pei"fo1111ance of Staff and Services Provider's obligations
under this Agreement..

                (b)     This Agreeri1ent is not intended  toand shall not constitute art assignment,
pledge or transfer of any portfolio management agreemei1t or rniy part thereof. It is the express
intention ofthe parties hereto that this Agreement and all services performed hereunder comply in
all respects with all (a) applicable contractual provisions and restrictions contaiti.ed in each
portfolio management agreement, investment management agreement or similar agreement and
each document contemplateci thereby; and (b) Applicable Laws (collectively, the "Advisory
Restrictio11s"). If any provision ofthis Agteementis detennined to be in violation of any Advisory
Restriction, then the services to be. provided. under this Agreement shall automatically be limited
witho11t action by any person or entity, teduced or modified to the extent necessary a.1l:d appropriate
to be enforceable to the maximum extent pe:rmi tted by such Advisory Restriction.             ·

        Section 5.02    Records; Confidentiality.

               The Staff and Services. Provider shall maintain or cause to be maintained
appropriate books of account and records relating to its services performed hereunder, and such
books of account aqd reCon:ls      s.hallbe accessible for fhspection by representatives of the
Management Company and its accountants an:d other agents at any time during nonnal business
hours and upon not less than three (3) Business D~ys' priqr notice; provided that the Staff and
Services Provider shall not be obligated to provide access to any non-pliblic information ifit in
good faith detenrtines that the disclosure of such infonnation would violate any applicable law,
regulation or contr~ctua1 ·ari"angement.

                 The Staff and Services Provider shall follow its customary procedUi'es to keep
confidential any and alL information obtained in c.onn.ection with the services rendered hereunder
that is either (a) ofa type that would ordinarily be considered proptietary or confidential, such as
information conceni.ing the composition of assets, rates of return, credit quality, structure or
o,:vnership of securities, or (b} designated as confidential obtained in connection with the services
rendered by the Staff and Services Provider hereunder and shall not disclose any such info1mation
tq non-affiliated third parties, except (i) with the prior written consent of the Managernent
Cornpany, (ii)such information as atating agency shall reasonablyrequest in connection with its



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fating of notes issued .by a CLO or supplying cretjit esthnates on any obligation inclt1dedjn the:
Portfolio, (iii) in connection with establishing trading at investment accounts or otherwise in.
coi1nection with effecti.ng transactious on behalf of the Mruwgement Company or any Client or
Account for Which the Manage1nent Company serves as portfolio manager ot investment m:artager
or in a similar capacity, (iv) as required by (A) Applicable Law or (B) the mies or regulations of
any self:,regu1ating oi"gartization; body or official havingjurisdiction over the Staff and Sei·vfoes
Provider or any ofits Affiliates, (v) to its professional advisors (including, without lirnitation1
legal, tax and accolrilting advisors), (vi) such infmmation as shall have b~en pi1blicly disclosed
other tha11 in known violation of this Agreement ot shall have beert obtained by the Staff and
Services Provider on a rion-confidential basis, (yii) such information as is necessary orappropriate
to disclose so that the Staff and Services Provider may. perform its duties hereunder, (viii). as
expressly permitted in. the final offering memorandum or ru1y definitive.transaction documents
relating to a:ny Client or.Accoui1t, (ix}infonnation relating to perfonn,imce .of the Po1tfolio a$ may
be used by the Staff and .Services Provider in the ordinary course of its business or (xx) such
infonnation as is routinely d.isclosed to the trustee, custodian or collateral administrator of any
Client or Account in connectioh with Such trustee's, custodian's ot collateral administrator's
performance ofits obligations under the transaction documents related to such Client or Account.
Notwithstanding the foregoing, it is agreed that the Staff and Services Prnvider may discl9se
without the consent of any Person Jl) that it is serving as staff and services ptovider to the
Managen1erit Cornpany, (2) the nature, <1ggregate principal amount and overall perfonnance of the
Portfolio, {3) the arnmtnt of earnings on the Portfolio, (4) such other infom1aticm about the
Management Company; the Portfolio and the Clients or Accounts as is customarily disclosed by
staff andservices providets to management vehicles similar to the ManagernentCompany~ and (5)
the United States federal income tax treatment and United States federal income tax structure of
the transactions qontempJated. by this Agreement and the related documents and all materials of
any kind (including opinions and other tax ru1alyses} that are provided to them i'elati:ng to such
United States federal income tax treatment and United States income ·tax structure. This
ciuthorization to disd.ose the U.S; tax treatment and t~ stntctu.re does noi permit cliscl.osure of
infonnationidentifyirig the Staff and Services Providei', the Clients at Accounts or any other party
to the fra11sactions contemplated by this .Agreement (except to the extent such infonnation is
relevant to U.S. tax structure or tax treatment of such transactions).

                                           ARTICLE VI

                         EXCULPATION AND INDEMNIFICATION

        Section 6.01 Standard of Care, Except as otherwise expressly provided herein, each
Covered Person shall discharge its dhties under this ,Agreement with the care, skilI, prudence and
diligence under the circumstances then pi'evailing that a prudent person acting in a like capacity
and familiar with such matters would use in the conduct of an enterprise of a like character and
with likeaiins. To the extentnotincotisistentwith the foregoing, each Covered Pei·sonshaU follow·
its customary stm1dai:ds, policies .and procedures in performing its duties. hereunder. No Covered
Person shall deal with the income or assets of the Manage1nent Cornpany in such Covered Person's
own interest or for its own account. Each Covered Person in its respective sole and absolute
discretion may separately engage or invest in any other b(1siness ventures, including those that ma)'
be in competition with the Management Compaity, and the Management Company will not have
any tights irtor to such ventures or the income or profits derived therefrom


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         Section 6.02 Exculpation. ·Tothe fullestextent permitted by law;no Covered Person will
be liable to the Management Company, any Member, or any shareholder, partner or member
thereof~ for (i) any acts at oniissions by such Coveted Pei'son arising out of 01; in connection with
the conduct ofthe business ofthe Management Company or its General Partner, or any investment
made or held by the Management Company or its General Pru1ner, unless it is determined
ultimately by a court of conipetentjut1sdiction, in a fi11al nbnappealable judgment, to be the result
of gross negligence or to constitute fraud or willful misconduct (as interpreted under the laws qf
the State of Delaware) (each, a "Disabli11g Conduct") on the patt of:such Covered Person, (ii) arty
act or omission of any Investor, (iii)any mistake, gross:negligence,. misconduct or bad faith of any
erhpldyee, broker, administrator or other agent or representative of such Covered Person,provided
that such employee, broker; administrator or agent was selected, engaged or retained by or on
behalf ofsuch C::overed Person with reasonable care, or (iv) any consequential (including loss of
profit), ihdfrect, special or punitive damages. To the extentthat, at law or in equity, any Covered
Person has duties (including fiduciary duties) and liabilities relating thereto to the Management
Corti.party or arty Member, no Covered Person ctcting under this Agreement shall. be liable to th.e
Mana:gementCompanyor to any such Member for its good~faithrelianceon the provisions of this
Agreement. Tlle exculpations ~et forth in this Section 6.02 shaH exculpate any Covered Person
regardless of such Cove1'ed Person's sole, comparative, joint, concurrent, or subsequent
negligence.                                                                           ·          ·

        To the fullest extent permitted by law; no Covered Persqn shall have any personal liability
to the Management Coh1pany or any Member solely by reason ofany change in U.S. federal, State
or local or foreign income tax laws, or in interpretations thereof, asthey apply to the Mam1gement
Company or the Members, wJ1ether the change occi.lrs thrb:ug}1 legislative, judicial or
administrative action.

        Any Covered Person in its sole and absolute discretio11 may consult legal counsel,
accountants or othe1' advisers selected by it; and any act or on':iission taken; or made 1n good faith
by such Person on behalf ofthe Management Company or in furtherance of the, business of the
Management Company in good-faith reliance on and in accordance with the advice of such
counsel, accountants or other advisers shalLbe full justification for. the act or omission, and to the
fullest extent permitted by applicable la,w,.no Covyred Person shall be liable to the Management
Company or any Member in so acting or omitting to. act if such coirnsel; accountants or other
advisers were selected, engaged or re,tained with n~asonable: care.

         Section 6.03 Indemnification by the Manage1i:i.ent Company.                  The Management
Conipany shall and hereby does, to the fullest exte1itperrnitted by applicable law, indemnify and
hold hannless any Covered Person from andagainst any and all claims, causes of action (including,
but not 1irnite.d to, 'strict liability, negligence, statutory violation, regulatory violation, breach of
contract; and .all other torts and claims arising tmdcr common law), demands, liabilities, costs,
expenses, damages, losses, suits, proceedings, judgments, assessme111s, i}ctions and other
liabilities, whether judicial1 administrative, investigative or otherwise, of whatever nature, known
or unknown, liquidated or u,nliquida~ed ("Claims"), that may accrue to or be incurred by apy
Covered Person, or iri. which any Covered Person may become involved, as a party or otherwise,
or with which any Covered Person may be threatened, relating to or arising out oftheinvest111ent
or other activities of the Management Coinpany or its General Partner, or activities undertaken in
connection with the Management Company or its General Partner, or otherwise relating to or


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arising out of this Agreement, including amounts paid in satisfaction ofjudgments, in compromise
or as fines or penalties, and attorneys' fees and expenses incuned in connection with the
preparation for or defense or disposition of any investigation, action, suit, ru.'bitration ot other
proceeding (a "Proceeditig"), whether civil or criminal (all ofsuch Claims, amounts and expenses
referred to therein are teferred to collecfrvely as ''Damages''), except tci the extentthatit shaU have
been determined .ultimately by a court of competent jurisdiction, in a final nonappealable
judgment, that such Damages arose primarily from Disabling Conduct of such Covered Person.
The termination of any Proceeding..by settlement, judgment., order; conviction or upon a plea of
nolo con:tendere or its equivalent shall not; of itself; c.reate a presumption that any Damages relating·
to such settlement, judgment, order~ conviction or plea of nolo contendere or its equivalent or
otherwise relating to suc.h Proceeding arose primarily from Disabling Conduct of any Covered
Persons. Any Coveted Person shall be indemhified under the terms ofthis Section 6.03 regardless
of such Covered Person's sole, comparative) joint, concurrent, or subsequent negligence.

        Expenses (including attorneys' feesJincurred by a Covered Person in defense or settlement
ofahy Claim tha:t rnay be .subject to a tight of inde1nniflcation hefeundcr shall be advanced by the
Management Company prior to the final disposition thereof upon receipt of a written undertaking
by ot cm behalf of the Covered Person to .repay the .amoi.nit advanced to the extent that it shall   be
determine.d ultimately by a court of competent jurisdiction that the Covered Person is riot entitied
to be indemnified heret1nder. The right of any Covered.Persons to the indemnification provided
herein shall be cumulative of, and in addition to, any and all rights to which the Covered Person
may otherwise be entitled by contract or as a matter of law or equity and shall be extended to ihe
Covered Person's sU<;cessors, assigns anq legal representatives. · Any judgments against the
Management Company and/or any Covered Persons in respect of which such Covered Pers01i is
entitled to indemnification shall firstbe satisfied from the assets of the Management Company,
including DrawdoW1iS; before such Covered Person is respcuisible therefor.

        Notwithstanding any provision of this Agreement to the contrary, the provisions of this
Section 6.03 shall not be co11strued so as to prqvide for the indemnification of any Covered Person
for any liability (including liability under Federal securities laws which, under certain
circumstances, impose liability even on persons that act ip good faith); to the extent (but only to
the extent) that st.tch indemnification would be ih violation ofa:pplicable law, bt1tshal1 be construed
so as to effectuate the provisions of this Section 6.03 to th~ fullest extent permitted by law.

        Sectioi1 6.04   Other Sources of Recovery etc. The inde1:nnification rights set forth in
Section 6.03 are in addition to, and shall 11ot exc1ude,1irrtit or otherwise adverselyaffect, ahy other
indemnification or similar rights to which any Covered Person may be entitled. lf and to the extent
that other sources of recovery (including.proceed~ of any applicable policies. of insurance or
indemnification from any Person in which any .of the Clients or Accotmts has an investment) are
available to any Covered Person, such Cov~n~d .Person shall use reasonable efforts to obtain
recovety froni such other sources before the Company sha.11 be required to make ·arty payment in
respect of its indemnification obligations hereunder; provided that, if such other recovery is not
available without delay, the Covered Person shall be entitled to such payrhertt by the Managenient
Company and the Management Company shall be entitled to reimbursementqut of such other
recovery when and if obtained.




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       Section 6.05 Rights of Heirs. Successors and Assigns. 11Je indemnification rights
provided by Section 6.03 shall in:ure to the benefit of the, heirs, executors, administrators,
successors and assigns of each Covered Person.

     Section 6.06 Reliance. A Covered Person shall incur no liability to the Management
Company or any Member in acting upon any sjgnature or writing reasonably believed by him, her
or it to be genuine, and may rely in good faith 011 a certificate signed by an officer ofany Person
in order to ascertainany fact withrespect to s_uch Person or within suqh'Person's kriowledge. Each
Covered Person may act directly or through his, her or its agents or atto111eys.

                                            ARTICLE VU

                                          TERJ.vUNATION

         Section 7.01 Te1mination. Either Party may terminate this Agreeme11t at any time upon
at least thirty (30) days' vvritten notice to th~ other. ··          ·             ·

                                           ARTICLE VIII

                                        MISCELLANEOUS

        Section 8.01 Amend1i1ents. This Agreement may not be arnended or modified except by
an instrument in writing signed by .each Party.

        Section 8.02    Assignment and Delegation.

                 (a)      Neither Party may assign, pledge, grant or othei:wise encumber ot transfer
all or any -part of its rights .or responsibilities under this Agreement; in whole ot in part, except (i)
as provided in clau.scs (b) and (c}ofthis Section 8.02, v-.rithol1tthe prior written consent of the other
Party and (H) in acc6edance with Applicable Law.

              (b)    Except as otherwise provided in this Section 8.02, the Staff ancl Services
Provider may not assign its :rights or responsibilities under this Agreement unless (i) the
Manageri1ent Company conserttsin writing thereto and (ii) such assignmentis made in accordance
with Applicable Law. .                               ..

                (c)       Th~ Staff and Services Provider may; without satisfying any of the
conditions of Section 8.02(a) otherthan clause·(ii) thereof, (1) assign anyofitsrights or obligations
under this Agreement to an Affiliate; providedthat. such Affiliate (i) has demonstrated ability,
whether as m'l entity or by its principals and employees, to professionally and cbmpetently perforn1
duties similar to those imposed upon the Staff and Services Provider purstrnnt to this Agreement
and (ii) has the legal l'ight inid capacity to act as Staffartd Services Provider under this Agree1rient,
or(2) entet into (or have its parent enter into) any consolidation or amalgamation with, ormerger
with or into, or transfer of all or substantially all of its assets to, another entity; provided that, at
the time of Such consolidation, merger, amalgamation or transfer the resulting, surviving or
transfore.e entity assumes all the obligc.1tions of the Staff and Services Provider m1der this
Agreement generally (whether by operation of law or by contract) and the other entity is a
continuation of the Staff and Services Provider in another corporate· or .similar form and has


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substantially the same staff; providedfi1rther that the Staff and Services Provider shall deliver ten
(10) Business Days' prior notice to the Management Company of any assignment or combination
made pursuant to this sentence. Upon the execution and clelivety of any &uch 1:1ssignment by the
assignee, the Staff and Services Piovider will be released from further obligations pursuant to this
Agreement except to the extent expressly provided herein.

        Section. 8.03   Non-Recourse: Non-Petition.

                   (a)     The Staff and Services Provider agrees that the payment of all amounts to
which itis erititledpurs11i:u1ttothis Agreement shall be payable by the Manage111entCompa11y only
to the ex'.terit of assets held in the Portfolio.

                (b)     Notwithstanding anything to the contrary contained herein, the liability of
                                                                                        in
the Manage1i1ent Company to the Sta:ffand Services Provider hereµnder is limited recourse to
the.Poiifolio, and if the proceeds of the Portfolio following the liquidation thei'eofareinsuf:ficfont
to meet the obligations of the Management Company hereund<:!r in full~ the Management Company
shall have no further liability in respect of any such outstanding obligations, and snch obligations
and all claims of the Staff and Services Provider or any other Person against the. Management
Cornp~ny hereunder shall tl)ereupon extinguish and not thereafter revive.· ·The Staff and Services
Ptovider accepts that the obligations ofthe·Management Compatiy hereunder ate the corporate
obligations ofthe Management Company and are not the obligations ofany employee, member,
officer, director or administrator of the Management Con1pany and no action may be taken against
any such Person ih relation to the obHsatiorts of the Mana~ement Company hereunder,

                (c)    Notwithstanding anything to the contrary contained herein, any Staff and
Services Provider agrees not to institute against, or join any other Person in instituting against, the
Management Company any bankruptcy, reorganization, arrangement, insolve11cy, rnoratoriµm or
liquidation proceedings, or other proceedings under United States federal or state bankruptcy laws,
or similar laws until at least one year and one day {or; if longer; the then applicable preference
period plus one day) after the paymentin full all amounts payable in respect of any Indebtedness
incurred to finance aily p01tion of the Portfolio; provided that nothing in this provision shall
preclude, or be deeirted to stop, theStaffand Services P~ovider·from taking any action prior to the
expiration of the aforementioned one year and one day period (or, if longel', the applicable
preference period then in effect plus one day) in (i) any case or proceeding voluntarily filed or
commenced by the Management Company, or (ii) any involuntary·insolvency proceeding ii.led or
commenced against the Mat1agement Company by ·a Person other than the Staff and Services
Provider.

                (d)     The Mana:ge1rnmt Company hereby ackI1owl~dges and agl'ees that the Staff
and Services Provider's obligations heteilridershall be solely the corporate obligations of the Staff
and Services Provider; and are not the obligations of any employee, member, officer, director or
administrator of the Staff and Services Providet and no action n'l.ay be taken against ariy such
Person in relation to the obligations of the Staffand Services Provider heretmder.

               (e)     The provisions of this Section 8,03 shall survive tennination of this
Agreement foi" any. reason whatsoever,




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        Section: 8 .04   Governing Law.

                (a)     This Agreement sfaill be governed by, and construed in accordance with,
the laws ofthe State of Texas. The Parties unconditionally and itrevocal:ily consent to the exchrnive
jurisdiction ofthe courts located in the State of Texas and waive any objection with respectthereto,
fqr the pmpcise. of any action, suit or proceeding arisingout of or relating to this Agreement or the
transactions contemplated hereby.

                (b)    The Parties iITevocabJy agree for the benefit ofeach other that the courts of
the State of Texas and the United States District Court located iirthe Northern District ofTexas in
Dallas are to have exclusive jurisdiction to settle any disputes (whether contractual or non~
contractual) which may arise out of or in comiection with this Agreement and that accordingly any
action arising out of or iri connection thei·ewith (together refe1ted to as "Proceedings") may be
brought in such courts. The Parties irrevocably submit to the jurisdiction of such courts andwaive
ariy objection which they faay have now or hereafter to the layingnf the venue ofany Proceedfr1gs
in any such court and any claim that any Proceedings have been brought in an inconvenient forwn
and further irrevocably agree that. a judgment .in any Proceedings brought in such cou1ts shall be
co11clusive and binding upon the Patties and 1nay be· enfoi'ced h1 the courts of any other jurisdiction.

              WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO
       Section 8.05
HEREBY KNOWINGLY, V0LUNTARILYAND INTENTIONALLY WAIVES ANY RIGHTS
IT MAY HAVE TO A TRIAL BY JURY IN RESPECT· OF ANY LITIGATION BASED
HEREON, OR ARISING OUT OF, UNDER, OR IN CONNECTION WITH, THiS
AGREEMENT. EACH PARTY HERETO ACKNOWLEDGES AND AGREES THAT IT HAS
RECENED FULL AND SDFFICIENT .CONSIDERATION FOR THIS PROVISION AND
THAT THIS PROVISION IS A MATERIAL INPUCEMENTFOR ITS ENTERING INTO THIS
AGREEMENT

        Section 8.06 Severability. The provisions of this Agreement are independent of and
severable from each other, ahd no provision shall be affected Or rendered invalid or utienforceable
by virtue ofthe fact thatfor any reason any other or others ofthem may be invalid ·o nmenforceable
in whole or in part. Upon such determination that any term or other provision is invalid, illegal or
incapable ofbeirtg enforced, the Parties shall negotiate fa good faith to modify this Agreement so
as to effect the original intent of the.Parties.             ·                 ·

        Section 8.07 No Waiver. The performance of any condition or obligation imposed upoh
any Party may be waived 011ly upbh the written consent of the Paities. Such waiver shall be,limited
to the terms thereof and shaU not constitute a waiver of any other condition or obligation of the
other Party. Any failure by any Party to enforce any provision shall not constitute a waiver ofthat
or any other provision or this Agreement.

         Section 8.08 Counterparts; This Agreement may be e~ecuted in MY number of
cou:riterparts by facsih1ile or other written or electronic fotm of communication, each of which
shall he deemed to b.e an original as agai11st any Party whose signature appears thereon, and all of
which shall together constitute one and the same instrument. This Agreement shall become
binding when one or more counterparts h(;reof, individually or taken together, shall bear the
signatures of all of the Parties reflected hereon as the signatories.



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Case21-03005-sgj
     21-03010-sgj
     21-03010-sgjDoc
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        Section 8.09 Third Party Beneficiaries. This Agreement is for the sole benefit of the
Parties hereto and their permitted assigns and nothing herein express or implied shall giv~ or be
construed to give to any Person, othetthan the Parties hereto ai1d such permitted assigns, any legal
or equitahlerights hereunder. For avoidance of doubt, this Agreement is not for the benefit or and
is not enforceable by any Shared Employee, CHenLor Account or arty investor (directly or
indirectly) in the Management Company.

        Section 8.10 No Paitnership or JointVenture~ Nothing set forth in this Agreement shall.
constitute; or he construed to create, an employment relationship, a pmtnership or a jojnt venture
between the Par~ies. Except as expressly provided herein or in any other written agreement
between the Parties, 110 Party has any authority, express or implied, to bind or to incut liabilities
on behalf of, or in the name of, any other Pmty.                     ·

.      Section8J l     Independent Contractor. Notwithstanding anything to the contrary,         the
Staff and Services Provider shall be deemed to be an independent contractor and; except as
expressly provided or authotized herein, shall have no authority to act for or represent the
Management Company or any Client or Account in which the Management Company acts as
portfolio mai1agel' or investment manager or in a similar capacity in any manner ot otherwise be
deemed an agent ofthe Management Company orany Client or Account.in.which the Management
Co1i1pany acts as portfolio manager or investment manager or in a similar capacity.

        Section 8.12 Written Disclosute Statement. The Mmmgement Company acknowledges
receipt of Part 2 ofthe Staffand Services Provider's Form ADV, as required by Rule 204-3under
the Advisers Act, on or before the date ofexecution of this Agree1nent.

      Section 8.13 Headings. The desctlptive headings contained in this Agreement are for
convenience of reference only and shall not affect in any way the1Ueaning or interpretation ofthis
Agreement.

        Section 8.14 Er1tire Agreement. This Agreement constitutes.the entire agreement ofthe
Partie$ With respect to the subject matter hereof and $llpersedes all prior agreements and
undertakings, both written and oral, between the Parties with respect to such subject matter;

       Section 8.15 Notices. Any notice or demand to any Party to be given, made or served
for any purposes under this Agreement shall be given, made oi' served by sendi1ig the sarne·by
overnight mail or email transmission or by delivering it by hand as follows:

               (a)     If to the Management Company:
                       NexPoiht Advisors, L.P.
                       200 Cre:Sce1it Court   ·
                       Suite 700
                       Dallas; TX 75201




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               (b)     If to the Staff and Services Providei·:
                       Highland Capital Management, L.P.
                       300 Crescent Court
                       St.1ite700
                       Dallas, TX: 75201

or to such other address or email address as shall have been notified.to the other Parties.




                       [The re1nainder ofthis page intentionally left blank}




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       IN WITNESS WHEREOF, each Party has caused this Agreemenfto be executed as ofthe
date hereof by its duly authorized representative.


                                              NEXPOINT ADVISORS, L.P.

                                              By: NexPoint Advisors GP, LLC, its
                                              General Partner



                                              By:_ _ _ _ _ _ _ _ _ _ _ __
                                              Name: Frank Waterhouse
                                              Title: Treasurer



                                              HIGHLAND CAPITAL
                                              MANAGEMENT, L.P.

                                              By: Strand Advisors, Inc., its General


                                              ~:·~
                                              Name: Frank Waterhouse
                                              Title: Treasurer
